              Case 08-13141-BLS           Doc 14511        Filed 04/10/19      Page 1 of 1


                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In Re:
                                                             Chapter 11
TRIBUNE MEDIA COMPANY, et al.,                               Case No. 08-13141 (KJC)
                 Reorganized Debtors.                        Jointly Administered


                    MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac
vice of Nathan Siegel of Davis Wright Tremaine LLP to represent the Reorganized Debtors in this action.

Dated: April 10, 2019                             /s/ J. Kate Stickles
                                                  COLE SCHOTZ P.C.
                                                  J. Kate Stickles (No. 2917)
                                                  500 Delaware Avenue, Suite 1410
                                                  Wilmington, DE 19801
                                                  Telephone: 302-652-3131
                                                  Email: kstickles@coleschotz.com

              CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of Maryland, the State of
New York and the District of Columbia, and submit to the disciplinary jurisdiction of this Court for any
alleged misconduct which occurs in the preparation or course of this action. I also certify that I am
generally familiar with this Court’s Local Rules and with the Standing Order for District Court Fund
revised August 31, 2016. I further certify that the annual fee of $25.00 has been paid to the Clerk of the
Court for the District Court.

Dated: April 10, 2019                             /s/ Nathan Siegel
                                                  DAVIS WRIGHT TREMAINE LLP
                                                  Nathan Siegel
                                                  1919 Pennsylvania Avenue NW, Suite 800
                                                  Washington, DC 20006-3401
                                                  Telephone: 202-973-4237
                                                  Email: nathansiegel@dwt.com

                                    ORDER GRANTING MOTION

         IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.
